                                UNITED STATES DISTRICT COURT
                                EASTER DISTRICT OF TENNESSEE
                                    WINCHESTER DIVISION


 DIMITRIOS ZAVOGIANNIS d/b/a
 GONDOLA RESTAURANT, individually
 and on behalf of all others similarly situated,   Case No.: _____________________

                   Plaintiff,

v.                                                 JURY TRIAL DEMANDED

ERIE INSURANCE EXCHANGE, ERIE
INSURANCE COMPANY, ERIE
INSURANCE COMPANY OF NEW YORK,
AND ERIE INSURANCE PROPERTY
AND CASUALTY, COLLECTIVELY
D/B/A ERIE INSURANCE GROUP,

                   Defendant.




                                  CLASS ACTION COMPLAINT




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       Plaintiff Dimitrios Zavogiannis d/b/a Gondola Restaurant (“Gondola”), individually and

on behalf of all others similarly situated, files suit against Erie Insurance Exchange, Erie Insurance

Company, Erie Insurance Property & Casualty Company, and Erie Insurance Company of New

York, (individually and collectively doing business as “Erie Insurance Group”) (collectively,

“Erie Insurance”) and alleges as follows.

I.     NATURE OF THE CASE

       1.      Since March 22, 2020, Tennessee Governor Bill Lee has issued a series of

Executive Orders (“Closure Orders”) instructing all 6.8 million Tennessee residents to help

mitigate the spread of COVID-19 by limiting social gatherings and remaining at home, with

certain exceptions. Though lifesaving, these mandates, which remain partially in place, prohibited

dine-in service at Tennessee restaurants. This prohibition is not merely causing severe financial

distress for restaurateurs and their employees; such closures threaten the viability of Tennessee’s

restaurant industry.

       2.      Plaintiff’s restaurant, Gondola, in McMinnville, Tennessee is among the thousands

of restaurants that were forced by the presence of coronavirus in the Community and State orders

to cease operations as part of the Closure Orders. Gondola and many Tennessee restaurants—none

of which bear fault for statewide closures—were responsible business stewards, thus paying for

business interruption insurance to protect against a situation like this.

       3.      But insurance companies operating in Tennessee—despite collecting premiums for

such risks—are categorically denying claims from restaurants arising from the presence of the

virus or Tennessee’s mandated interruption of business services. Those denials are often made

with little or no investigation and without due regard for the interests of insureds.

       4.      Indeed, form letters denying coverage for such losses appear to rest on crabbed



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readings of coverage language. That gets insurance law exactly backwards—and raises the specter

of bad-faith denials.

       5.      Gondola’s experience is no different. Gondola has dutifully followed Tennessee’s

mandates, issued to stem the spread of coronavirus in the community. Facing serious financial

harm, it has filed a claim with Erie Insurance for business interruption coverage.

       6.      Erie Insurance swiftly denied the claim. Though its reasons are cursory, the denial

appears to be based on an unreasonable reading of its policy, which tracks form policies issued

throughout Tennessee on a take-it-or-leave-it basis.

       7.      That leaves Gondola in financial straits—precisely the situation it sought to avoid

when it obtained coverage for business interruptions.

       8.      Gondola and other restaurants bought full-spectrum, comprehensive insurance for

their businesses – not just for tangible damage to their premises and equipment. And for good

reason. Business interruptions are a particular concern of the restaurant industry. Insurance

coverage is important, if not vital, because profit margins in the restaurant industry are slim and

reserve funds tend to be low.

       9.      Gondola and other Tennessee restaurants reasonably believed they had

comprehensive coverage that would apply to business interruptions under circumstances like

these, where they have done everything right to protect their businesses and the public. But

insurance companies like Erie Insurance are cutting those lifelines – despite having pocketed

significant premiums for their policies.

       10.     Plaintiff thus brings this action, on behalf of itself and other Tennessee restaurants

similarly situated, seeking declaratory relief, insurance coverage owed under Erie Insurance’s

comprehensive business owners’ policies, and damages.



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II.    JURISDICTION AND VENUE

       11.       This Court has subject matter jurisdiction over this action under 28 U.S.C.

§ 1332(d)(2) because this is a class action wherein the amount in controversy exceeds the sum or

value of $5,000,000, exclusive of interest and costs, and at least one member of the proposed Class

is a citizen of a different state than Defendant.

       12.       This Court has personal jurisdiction over Defendant Erie Insurance pursuant to

Tennessee’s long-arm statute, T.C.A § 20-2-223(a)(1) and T.C.A § 20-2-223(a)(6) because this

complaint concerns (1) one or more contracts Erie Insurance made to insure property and/or risk

in Tennessee, (2) business that Erie transacted within Tennessee and (3) one or more contracts

and/or promises Erie made that are substantially connected with Tennessee.

       13.       Additionally, because this action presents an actual controversy within this Court’s

jurisdiction, this Court may declare the legal rights and obligations of the parties hereto under 28

U.S.C. § 2201.

       14.       Venue is appropriate because “a substantial part of the events or omissions giving

rise to the claim[s] occurred” in the Eastern District of Tennessee. 28 U.S.C. § 1391(b).

III.    PARTIES

       A.        Plaintiff

       15.       Plaintiff Gondola is a sole proprietorship owned by Dimitrios Zavogiannis. Its

principal place of business is in McMinnville, Warren County, Tennessee.

       B.        Defendant

       16.       Defendant Erie Insurance Exchange is a company organized under the laws of

Pennsylvania with its headquarters in Erie, Pennsylvania. At all relevant times, Erie Insurance

Exchange operated in and was licensed to do business in Tennessee.



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       17.     Defendants Erie Insurance Company is a company organized under the laws of

Pennsylvania with its headquarters in Erie, Pennsylvania. At all relevant times, Erie Insurance

Company operated in and was licensed to business in Tennessee.

       18.     Erie Insurance Company of New York is a company organized under the laws of

New York with its headquarters in New York. At all relevant times, Erie Insurance Company of

New York operated in and was licensed to business in Tennessee.

       19.     Erie Insurance Property and Casualty Company is a company organized under the

laws of Pennsylvania with its headquarters in Erie, Pennsylvania. At all relevant times, Erie

Insurance Property and Casualty Company operated in and was licensed to business in

Tennessee.

       20.     Defendant Erie Insurance Group is a fictitious trade name utilized and operated

through the aforementioned “Erie”-related entities. Its business address 100 Erie Insurance Place,

Erie, Pennsylvania, 16530. At all relevant times, Erie Insurance Group, by and through the

aforementioned entities, operated in Tennessee.

IV.    FACTUAL ALLEGATIONS

       A.      The Presence of COVID-19 and the Resulting Closure Orders

       21.     In January 2020 early media reports documented an outbreak of a novel strain of

coronavirus – COVID-19 – in Wuhan, China. By late January, it was generally understood in the

scientific and public health communities that COVID-19 was spreading through human-to-human

transmission and could be transmitted by asymptomatic carriers.

       22.     On January 30, 2020, reports of the spread of COVID-19 outside China prompted

the World Health Organization to declare the COVID-19 outbreak a “Public Health Emergency

of International Concern.”



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       23.     On March 11, the World Health Organization declared COVID-19 a global health

pandemic based on existing and projected infection and death rates, as well as concerns about the

speed of transmission and ultimate reach of this virus.

       24.     Public health officials have recognized for decades that non-pharmaceutical

interventions (NPIs) can slow and stop the transmission of certain diseases. Among these are

screening and testing of potentially infected persons; contact tracing and quarantining infected

persons; personal protection and prevention; and social distancing. Social distancing is the

maintenance of physical space between people. Social distancing can be limited – e.g., reducing

certain types of conduct or activities like hand-shaking – or large-scale – e.g., restricting the

movements of the total population.

       25.     A lack of central planning, shortages of key medical supplies and equipment, and

the unfortunate spread of misinformation and disinformation about the risks of COVID-19 has led

to widespread confusion, unrest, and uncertainty regarding the likely trajectory of this pandemic

and the appropriate counter-measures necessary to mitigate the damage it could potentially cause.

       26.     Beginning in late February, public health officials began advising various

governments around the world that one of the most disruptive NPIs – population-wide social

distancing – was needed to stop the transmission of COVID-19. Suddenly densely occupied

spaces, heavily traveled spaces, and frequently visited spaces such as schools, offices, public

transit, restaurants, and shops were likely to become hot-spots for local transmission of COVID-

19.

       27.     By March, that advice was being implemented by state and local governments

across the United States. On March 12, 2020, Tennessee’s Governor Bill Lee issued Executive




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Order No. 14, declaring a public health emergency in the state of Tennessee as a result of COVID-

19.

       28.     On March 22, 2020, Governor Lee issued Executive Order No. 17, ordering

“Restaurants, bars, and similar food or drink establishments . . . shall not be open to persons,

except only to offer drive-through, pickup, carry-out, or delivery service[.]”

       29.     On March 30, 2020, Governor Lee issued Executive Order No. 22, directing

Tennesseans to “stay at home, except for when engaging in Essential Activity or Essential

Services[,]” in order to limit the spread of COVID-19.

       30.     On April 24, 2020, Governor Lee issued Executive Order No. 29, which provided

for the reopening of Tennessee restaurants, with certain limitations.

       B.      Plaintiff’s Experience

       31.     Plaintiff operates a family restaurant called Gondola Pizza and Steakhouse in

McMinnville, Tennessee. Mr. Zavogiannis has operated his restaurant, Gondola, for 31 years.

The restaurant is known throughout its community for its breakfast and lunch buffets, its three

banquet rooms that host a variety of events including weddings and birthday parties, and its

friendly and caring staff.

       32.     Gondola has complied with all applicable Closure Orders of Tennessee state and

local authorities. Compliance with those Closure Orders, and the presence of the virus in the

community, has caused direct loss of Gondola’s insured property in that the restaurant and its

equipment, furnishings and other business personal property, has been made unavailable,

inoperable, useless and/or uninhabitable; and its functionality has been severely reduced if not

completely or nearly eliminated.




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        33.        The impact of these Closure Orders and the presence of the virus is felt not simply

in their direct application to Gondola’s operations, but also in the damage caused to neighboring

businesses and properties.

        34.        Even though Tennessee has begun to relax its mandates, Gondola will encounter

continued loss of business income due to the presence of the virus and the Closure Orders because,

in issuing those orders, government officials have stated that densely occupied public spaces are

dangerously unsafe, and continuing to operate the restaurant might expose Gondola to the risk of

contaminated premises as well as exposing customers and workers to heightened transmission and

infection risks.

        35.        Plaintiff purchased comprehensive business owners’ liability and property

insurance from Erie Insurance for the policy period of February 12, 2020 to February 12, 2021 to

insure against risks the business might face. Such coverage includes business income with extra

expense coverage for the loss, as well as additional “civil authority” coverage. Once triggered, the

policy pays actual losses sustained for the business income and extra expense coverage.

        36.        To date, Plaintiff has paid all of the premiums required by Erie Insurance to keep

its policy in full force.

        37.        On or about March 20, 2020 Plaintiff reported a loss of business income under its

policy. During the phone call in which Plaintiff made a claim to Erie Insurance, the insurance

adjuster informed Plaintiff that as a “general rule,” Erie Insurance was denying business

interruption claims related to COVID-19.

        38.        On or about May 7, 2020, Erie Insurance denied Plaintiff’s claim for coverage. In

a cursory denial letter, Erie Insurance took the position that a there was “no direct loss to [the]

building or business personal property[,]” and that there was “no partial or total ‘interruption of



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 business’ due to direct physical ‘loss’ or damage to Covered Property[.]” Erie offered no written

 explanation of the factual or legal basis for these conclusions. Erie Insurance did not identify any

 exclusions from coverage.

        39.     Erie Insurance’s denial letter, on information and belief, is a form letter sent in

 response to any restaurant with comprehensive business insurance that files a claim arising from

 Tennessee’s Closure Orders, and was issued without any investigation by Erie Insurance within

 one day of the filing of Plaintiff’s claim.

        40.     Business insurance policies purchased by small businesses like restaurants are not

 individually negotiated. At most, the prospective policyholder may elect to add specialized

 coverage options to a basic business insurance policy form. But the substantive terms are set

 unilaterally by the insurer and not subject to individual negotiation by the insured. Therefore, upon

 information and belief, other Erie Insurance policy holders throughout Tennessee are subject to

 the same terms and conditions of insurance as those contained in Plaintiff’s policy.

        41.     Plaintiff’s policy includes common terms and phrases widely used by the insurance

 industry. The insurance industry typically hews closely to standardized insurance policy forms in

 addressing property and liability risks, and Erie Insurance did so here.

        42.      Erie Insurance’s denial is contrary to the terms and conditions of the policy and

 applicable law, which gives effect to plain language, construes coverage agreements broadly,

 narrowly construes exclusions, and construes ambiguity in favor of coverage.

        43.     Erie Insurance’s denial of coverage breached its obligation and responsibility to

 provide coverage available through the policy to Plaintiff under Plaintiff’s “Income Protection

 Coverage,” “Extra Expense Coverage” and “Civil Authority Coverage” because the Closure

 Orders and/or the presence of Covid-19 throughout the community triggered these applicable



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 coverages contained within Plaintiff’s policy. Plaintiff has suffered direct loss of its insured real

 and business personal property that under the policy requires coverage for the closure and

 interruption of business sustained by Plaintiff.

        44.     As a result of Erie Insurance’s denial of coverage and breach of the insurance

 policy it issued, Plaintiff has suffered and will continue to suffer damages due to Erie Insurance’s

 wrongful denial of vital property and business income coverage, which Plaintiff acquired to ensure

 the survival of its business in these circumstances.

 V.     CLASS ALLEGATIONS

        45.     Pursuant to the Fed. R. Civ. P. 23(a), 23(b)(2), 23(b)(3), and 23(c)(4), Plaintiff

 brings this action on behalf of itself and the following proposed Class (the “Class”):

                All restaurants in Tennessee that purchased comprehensive business
                insurance coverage from Defendant Erie Insurance which includes
                coverage for business interruption, filed a claim for lost business
                income following Tennessee’s Closure Orders, and were denied
                coverage by Erie Insurance.

        46.     Excluded from the Class are Defendant, any entity in which Defendant has a

 controlling interest, and Defendant’s officers, directors, legal representatives, successors,

 subsidiaries, and assigns. Also excluded from the Class are any judge, justice, or judicial officer

 presiding over this matter and the members of their immediate families and judicial staff.

        47.     Plaintiff reserves the right to amend the Class definition if discovery and further

 investigation reveal that the Class should be expanded, divided into subclasses, or modified in any

 other way.

        48.     Numerosity – Federal Rule of Civil Procedure 23(a)(1). This action has been

 brought and may properly be maintained as a class action as it satisfies the numerosity,

 commonality, typicality, adequacy, predominance, and superiority requirements.



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        49.        Although the precise number of members of the Class is unknown and can only be

 determined through appropriate discovery, on information and belief, the members of the proposed

 Class are so numerous that joinder of all members would be impracticable. There are tens of

 thousands of restaurants in Tennessee which are governed by the Closure Orders and attendant

 statewide dine-in restrictions, and public reporting reveals that many have filed claims with Erie

 Insurance but have been denied coverage.

        50.        Commonality and Predominance – Federal Rule of Civil Procedure 23(a)(2).

 The questions of law and fact common to the Class predominate over any questions affecting only

 individual Class members, particularly because the focus of the litigation will be on Erie

 Insurance’s conduct. The predominant questions of law and fact in this litigation include, but are

 not limited to:

                    a. Whether Defendant’s comprehensive business insurance policies cover

                       claims for lost business income under the circumstances present here;

                    b. Whether Defendant violates the terms of its standard business insurance

                       policies by denying claims for lost business income as described herein;

                    c. Whether Defendant breached the implied covenant of good faith and fair

                       dealing in its handling of its insureds’ claims for lost business income;

                    d. Whether Defendant acted in bad faith in denying claims for lost business

                       income without investigation or due consideration of those claims;

                    e. Whether the declaratory judgment sought is appropriate; and

                    f. The proper measure of damages.

        51.        These questions predominate over any questions affecting only individual Class

 members. This is particularly true because, on information and belief, the terms of the Erie



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 Insurance’s business insurance policies are identical or substantively identical and Erie Insurance

 has acted uniformly with respect to such policies.

        52.      The claims asserted by the Plaintiff in this action are typical of the claims of the

 members of the putative Class as the claims arise under Erie Insurance’s standard business

 insurance policies, challenge Erie Insurance’s standard course of conduct under those policies,

 and seek common relief therefor.

        53.     Adequacy of Representation – Federal Rule of Civil Procedure 23(a)(4).

 Plaintiff will fairly and adequately represent and protect the interests of the members of the

 putative Class, as its interests coincide with, and are not antagonistic to, the other members of the

 Class. Plaintiff has retained counsel competent and experienced in consumer protection, insurance

 coverage, and class-action litigation.

        54.     Superiority – Federal Rule of Civil Procedure 23(b)(3). A class action is

 superior to any other method available for the fair and efficient adjudication of these claims

 including consistency of adjudications. Absent a class action it would be highly unlikely that the

 members of the Class would be able to protect their own interests because the cost of litigation

 through individual lawsuits might exceed the expected recovery. Moreover, a class action is a

 superior method for the adjudication of the controversy in that it will permit a large number of

 claims to be resolved in a single forum simultaneously, efficiently, and without the unnecessary

 hardship that would result from the prosecution of numerous individual actions and the duplication

 of discovery, effort, expense, and the burden of the courts that individual actions would create.

        55.     Declaratory and Injunctive Relief – Federal Rule of Civil Procedure 23(b)(2).

 Defendant has acted or refused to act on grounds generally applicable to the proposed Class,

 thereby making appropriate final and injunctive relief with respect to the members of the proposed



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 Class as a whole.

        56.     Likewise, particular issues are appropriate for certification under Fed. R. Civ.

 P. 23(c)(4) because such claims present only particular, common issues, the resolution of which

 would advance the disposition of this matter and the parties’ interests therein. Such particular

 issues include, but are not limited to:

                  a. Whether the comprehensive business insurance policies issued by Defendant

                      cover Class members’ direct loss of property and lost business income

                      following the presence of coronavirus and Tennessee’s Closure Orders;

                  b. Whether businesses like Plaintiff suffered “loss” as used in the applicable

                      policies;

                  c. Whether the Closure Orders triggered coverage under Defendant’s policies;

                  d. Whether the coverages for direct loss of property and lost business income

                      provided by the comprehensive business insurance policies are precluded by

                      exclusions or other limitations in those policies;

                  e. Whether Defendant breached contracts by denying comprehensive business

                      insurance coverage to Plaintiff and Class members;

                  f. Whether Defendant’s summary denial of claims for direct loss of property

                      and lost business income, without any investigation or inquiry, constitutes

                      bad faith and therefore a breach of the implied covenant of good faith and

                      fair dealing to act in good faith and with reasonable efforts to perform its

                      contractual duties and not to impair the rights of other parties to receive the

                      rights, benefits, and reasonable expectations under the contracts;

                  g. Whether Erie Insurance’s handling of claims for direct loss of property and



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                      lost business income associated with the presence of coronavirus and public

                      health measures such as Tennessee’s Closure Orders constitutes a breach of

                      the implied covenant of good faith and fair dealing; and

                  h. Whether Plaintiff and Class members are entitled to actual damages and/or

                      injunctive relief as a result of Defendant’s wrongful conduct.

 VI.    CLAIMS FOR RELIEF

        A.      Claims Brought on Behalf of the Class

                                            COUNT I
                                      Declaratory Judgment

        57.     Plaintiff re-alleges the paragraphs above as if fully set forth herein.

        58.     Plaintiff purchased a comprehensive business insurance policy from Defendant.

        59.     Plaintiff paid all premiums required to maintain its comprehensive business

 insurance policy in full force.

        60.     The comprehensive business insurance policy includes provisions that provide

 coverage for the direct loss of or damage to the premises as well as actual loss of business income

 and extra expenses sustained during the suspension of operations as a result of such loss or

 damage.

        61.     On or about March 22, 2020, Tennessee Governor Lee issued Executive No. 17,

 mandating restaurants, including those owned by Plaintiffs and Class members, to cease all dine-

 in services. This mandate also applied to neighboring businesses, thus causing widespread closures

 surrounding Plaintiff’s business premises and those of the Class.

        62.     As the direct result of this mandate and the related Closure Orders, and the presence

 of coronavirus in the community, Plaintiff and Class members have suffered direct loss of their

 insured property within the meaning of Erie’s policy, resulting in substantial loss of business

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 income.

        63.     These losses are insured losses under several provisions of Erie Insurance’s

 comprehensive business insurance policy including business income and extra expense coverage,

 and coverage for actions of civil authority.

        64.     There are no applicable, enforceable exclusions or definitions in the insurance

 policies that preclude coverage for these losses.

        65.     Plaintiff seeks a declaration for itself and the Class that their business income losses

 are covered and not precluded by exclusions or other limitations in Erie Insurance’s

 comprehensive business insurance policy.

                                           COUNT II
                                        Breach of Contract

        66.     Plaintiff re-alleges the paragraphs above as if fully set forth herein.

        67.     Plaintiff and Class members purchased comprehensive business insurance policies

 from Defendant to ensure against all risks (unless specifically excluded) a business might face.

 These policies were binding contracts that afforded Plaintiff and Class members comprehensive

 business insurance under the terms and conditions of the policies.

        68.     Plaintiff and Class members met all or substantially all of their contractual

 obligations, including paying all the premiums required by Defendant.

        69.     On or about March 22, 2020, Tennessee Governor Lee issued Executive Order No.

 17, mandating restaurants, including those owned by Plaintiffs and Class members, to cease all

 dine-in services. This mandate also applied to neighboring businesses, thus causing widespread

 closures surrounding Plaintiff’s business premises and those of the Class.

        70.     Beginning on March 22, 2020 and continuing through the date of the filing of this

 Complaint, Plaintiff and Class members suffered the direct loss of property and lost business

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 income as the direct result of Tennessee’s Closure Orders and the presence of coronavirus in the

 community—losses which are covered under the comprehensive business insurance policies

 purchased from Defendant.

        71.     There are no applicable, enforceable exclusions in Plaintiff’s and Class members’

 comprehensive business insurance policies that preclude coverage.

        72.     Defendant breached its contracts by denying comprehensive business insurance

 coverage to Plaintiff and Class members as described herein.

        73.     As a direct and proximate result of Defendant’s denial of comprehensive business

 insurance coverage to Plaintiff and Class members, Plaintiff and Class members suffered damages.

                                       COUNT III
                 Breach of Implied Covenant of Good Faith and Fair Dealing

        74.     Plaintiff re-alleges the paragraphs above as if fully set forth herein.

        75.     Plaintiff and Class members contracted with Defendant to provide them with

 comprehensive business insurance to ensure against all risks (unless specifically excluded) a

 business might face.

        76.     Under the laws of the states where Erie Insurance does business, including

 Tennessee, good faith is an element of every contract between insurance companies and their

 insureds.

        77.     Erie Insurance’s contracts are subject to implied covenants of good faith and fair

 dealing that all parties would act in good faith and with reasonable efforts to perform their

 contractual duties—both explicit and fairly implied—and not to impair the rights of other parties

 to receive the rights, benefits, and reasonable expectations under the contracts. These contracts

 thus include the covenants that Defendant would act fairly and in good faith in carrying out their

 contractual obligations to provide Plaintiff and Class members with comprehensive business

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 insurance.

           78.   Plaintiff and covered Class members reported a loss of business income under their

 respective business insurance policies.

           79.   Defendant denied Plaintiff’s and covered Class members’ claims for insurance

 coverage.

           80.   Defendant did not have a reasonable basis for denying Plaintiff’s and the covered

 Class members’ claims for coverage.

           81.   Defendant did not properly investigate plaintiff’s or the covered Class members’

 claims, nor were the results of Defendant’s investigation subject to a reasonable evaluation and

 review.

           82.   Defendant was aware that there was no reasonable basis for denying plaintiff’s or

 the covered Class members’ claims for coverage.

           83.   Defendant displayed a reckless indifference to the facts or proofs submitted by

 plaintiff and the covered Class members’ claim for coverage.

           84.   Defendant breached the implied covenant of good faith and fair dealing by:

                  a. Selling policies that appear to provide liberal coverage for loss of property

                     and lost business income with the intent of interpreting undefined or poorly

                     defined terms, undefined terms, and ambiguously written exclusions to deny

                     coverage under circumstances foreseen by Defendant;

                  b. Denying coverage for loss of property and lost business income unreasonably,

                     and without a rational basis in their policy and applicable law by applying

                     undefined, ambiguous, and contradictory terms contrary to applicable rules of

                     policy construction and the plain terms and purpose of the policy;



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                 c. Denying Plaintiff and Class members’ claims for loss of property and loss of

                     business income without conducting a fair, unbiased, and thorough

                     investigation or inquiry; and

                 d. Compelling Plaintiff and Class members to initiate this litigation to secure the

                     policy benefits to which they are entitled.

        85.     Plaintiff and Class members met all or substantially all of their contractual

 obligations, including by paying all the premiums required by Defendant.

        86.     Defendant’s failure to act in good faith in providing comprehensive business

 insurance coverage and exercising its discretion under its business insurance policies to Plaintiff

 and Class members denied Plaintiff and Class members the full benefit of their bargain.

        87.     Accordingly, Plaintiff and Class members have been injured as a result of

 Defendant’s breach of the covenant of good faith and fair dealing and are entitled to damages in

 an amount to be proven at trial.

 VII.   RELIEF REQUESTED

        Plaintiff, on behalf of itself and the Class, requests the following relief:

        a.      An order certifying this action as a class action under Fed. R. Civ. P. 23,

                appointing Plaintiff as Class Representative, and appointing Plaintiff’s counsel

                as Class Counsel.

        b.      A declaration that Plaintiff’s and Class members’ losses are covered under

                Defendant’s comprehensive business insurance policies;

        c.      Actual damages in an amount according to proof;

        d.      Injunctive or declaratory relief;

        e.      Pre- and post-judgment interest at the maximum rate permitted by applicable law;



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         f.      Costs and disbursements assessed by Plaintiff in connection with this action,

                 including reasonable attorneys’ fees pursuant to applicable law;

         g.      Attorneys’ fees for Erie’s bad faith, under the common fund doctrine, and all

                 other applicable law; and

         h.      Such other relief as this Court deems just and proper.

 VIII. DEMAND FOR JURY TRIAL

         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby demands

 trial by jury on all issues so triable.


  Dated: August 12, 2020                     Respectfully submitted,

                                             /s/ J. Gerard Stranch, IV
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